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TO ALLOW DlSCLOSURE OF §§ §§
SEALED TITLE l|l MATER|ALS lN DlSCOVERY § §
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‘-.§&c¢" :;\J §§
Q a
Comes now the United States ofArnen`ca, and hereby requests the Court to authorize § §
the provision to defense counsel in Uniteo' States v. Ward Cmtchfefd and Chan*es Love 05- §§
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20204 B; United States v Chns Newton and Chan'es Love 05 20205 Nlt United States v. ` §
2
§
John Ford, 05»20201-3 United States v Roscoe Dixon and Barry Myers, 05-20202 M1 §
and Uniteo‘ States v. Kathryn Bowers and Barry Myers 05 20203 M1 of copies of the
tollowiing:
1.
No. 05-WT-

Redacted portions of Title l ll applications, orders and affidavits in Miscellaneous

001(W D TN )and ali orders applications and affdavits submitted requesting
extension or modification of that order
2.

Copies ot audio and visual interceptions which were obtained as a result of said

orders to the extent that said interceptions are relevant as discovery material or other
material appropriately furnished to defense counsel

At the government’ s request, sealing orders were issued to preserve the integrity of the

ongoing investigation The government is seeking the Court’ s permission to provide in

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Case 2:05-cr-20201-.]DB Document 24 Filed 07/19/05 Page 2 of 4 Page|D 34

discovery documents that were submitted to the Court to obtain said order and the fruits of
investigation as appropriately disclosed to the defense attorneys in the above-captioned
cases.

The United States also requests that it be allowed to redact said applications, orders
and aftidavits, editing those matters that are not material to the current indictments, as the
affidavits orders and applications contain information concerning lines of investigation that
are not yet completed and individuals who have not been charged in a criminal case. lf this
information is disclosed to the general public, those lines of investigation may be
compromised |n addition, the rights of individuals mentioned but not charged may be
prejudiced For these reasons, the government also requests that the disclosure be iimited
to providing the discovery to defense counsel and their clients, and that the documents made
available to the attorneys for the defendants be subject to a protective order limiting the
dissemination of this information

Respectfu||y submitted,

TERRELL L. HARRIS
UN|TED STATES ATTORNE¥

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Assistant United States Attorney
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Case 2:05-cr-20201-.]DB Document 24 Filed 07/19/05 Page 3 of 4 Page|D 35

CERTIFICATE OF SERV|CE

|, TlMOTHY R. DlSCENZA, Assistant United States Attorney forthe Western Distn'ct

of Tennessee, hereby certify that a copy of the foregoing Motion and the proposed order were

maited, first class postage prepaid, to the following:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-20201 Was distributed by faX, mail, or direct printing on
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US DISTRICT COURT

